Case No. 1:22-cv-01129-NYW-SKC Document 244-14
                                        236-14 filed 01/11/24
                                                     12/11/23 USDC Colorado pg 1
                                     of 3




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:22-cv-01129

   ERIC COOMER, PhD.,

         Plaintiff

   v.

   MICHAEL J. LINDELL, FRANKSPEECH LLC,
   AND MY PILLOW, INC.,

         Defendants


                                    EXHIBIT 41
Case No. 1:22-cv-01129-NYW-SKC Document 244-14 filed 01/11/24 USDC Colorado pg 2
                                     of 3
Case No. 1:22-cv-01129-NYW-SKC Document 244-14 filed 01/11/24 USDC Colorado pg 3
                                     of 3
